Case 1:16-cr-20897-PAS Document 104 Entered on FLSD Docket 04/10/2019 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLO RIDA
                             CA SE N O .16-20897-C R-SEITZ

  UNITED STATES OF AM ERICA,

        Plaintiff,



  PRINCESS CRUISE LINES,LTD.,

        Defendant.
                                    /

                           ORDER O N STATUS CONFERENCE

        THIS m attercnmebeforetheCourt,on April10,2019,fora quarterly stamshearing.

  Pursuantto thediscussionsatthehearing,itis

        ORDERED that:

        1,     TheCourtwill5lein therecord,the CourtAppointed M onitor'sFirstAnnual

  Reportand a11AnnualReportsthereafter.The Courtwillalsoconsiderwhetherto 5lein the

  recordtheQuarterlyReportsoftheCourtAppointedM onitor.
        2.     By April22,2019,thepartiesshallfileagreed potentialdatesforconducting the

  Revocation Hearing.Thedatesprovided shallbe acceptableto a1lparties,the CourtAppointed

  M onitor,and theThirdParty Auditor.The datesprovided shallalsobesuch thattheRevocation

  Hearing willbecompleted byJune 24,2019.
                                               m
        ooxsaxo ouosuso inviami,ylorida,this zt dayor p,4l,zolg.
                                                   %



                                          PA TRICIA .S 1TZ
                                          U NITED STA TES D IS     CT JUD G E


  cc:   A1lCounselofRecord
